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                     UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEW JERSEY
                           CAMDEN VICINAGE

                                                   MDL No. 2875
    IN RE: VALSARTAN, LOSARTAN,
    AND IRBESARTAN PRODUCTS                        Honorable Robert B. Kugler,
    LIABILITY LITIGATION                           District Court Judge


    This Document Relates to All Actions



                    TPP TRIAL DEFENDANTS’ OMNIBUS
                    MOTION FOR SUMMARY JUDGMENT1




1
       This Motion for Summary Judgment concerns the claims designated in the
Court’s Case Management Order No. 32 (the “TPP Trial Claims”); specifically, the
claims of Plaintiff MSP Recovery Claims, Series LLC, as class representative of
TPP Breach of Express Warranty subclass b, TPP Breach of Implied Warranty
subclass d, TPP Fraud subclass c, and TPP State Consumer Protection Laws subclass
a (collectively, the “TPP Classes”), against the TPP Trial Defendants. (ECF 2343 at
1-2.) Accordingly, this motion is limited to the TPP Trial Claims, and is presented
without waiver of any arguments for summary judgment with respect to any other
claims asserted by any Plaintiff as to any Defendant(s) in this multi-district litigation.
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                                 INTRODUCTION

      MSP Recovery Claims, Series, LLC (“MSP”) seeks to recover on behalf of

numerous third-party payors (“TPPs” or “Plaintiffs”) under the express warranty

laws of 20 states, the implied warranty laws of seven states, the common-law fraud

standards of 23 states and the consumer-protection statutes of 18 states. The

gravamen of their claim is that they should be reimbursed for covering life-saving

“valsartan-containing drugs” or “VCDs” that were supposedly rendered worthless

by the alleged presence of N-Nitrosodimethylamine (“NDMA”) or N-

Nitrosodiethylamine (“NDEA”). The TPP Trial Defendants 2 are entitled to summary

judgment on all of Plaintiffs’ claims.

      First, Plaintiffs cannot prove many elements of their claims. The claims for

breach of implied and express warranty fail for lack of pre-suit notice and are at least

partially time-barred. Plaintiffs’ implied warranty claims separately fail because

Plaintiffs lack privity with Defendants and cannot establish that the VCDs were

unmerchantable. Plaintiffs’ claims for breach of express warranty fail because

Plaintiffs have no evidence that Defendants made (much less breached) any express



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       The “TPP Trial Defendants” or “Defendants” are: (i) Zhejiang Huahai
Pharmaceutical Co., Ltd., Huahai U.S., Inc., Prinston Pharmaceutical Inc., and Solco
Healthcare U.S., LLC (collectively, “ZHP”); (ii) Teva Pharmaceuticals USA, Inc.,
Teva Pharmaceutical Industries Ltd., Actavis LLC, and Actavis Pharma, Inc.
(collectively, “Teva”); and (iii) Torrent Pharmaceuticals Ltd. and Torrent Pharma,
Inc. (collectively, “Torrent”).
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warranty. Plaintiffs’ fraud-based and consumer protection claims fail because they

have no evidence that Defendants engaged in any false or misleading statements or

concealment or that Plaintiffs relied on Defendants’ statements or omissions. And

the consumer-protection claims are not actionable under some states’ laws because

Plaintiffs are not consumers and/or the claims cannot be asserted on a class basis.

      Second, all of Plaintiffs’ claims fail under the applicable state laws for lack of

injury. Plaintiffs’ theory that the VCDs were “worthless” fails as a matter of law

because the factual record is undisputed that the VCDs delivered their full

therapeutic benefit, as affirmed by the recent testimony of Plaintiffs’ damages

expert, Dr. Rena Conti. Although the Court permitted Plaintiffs’ theory of injury to

proceed past the pleading and class-certification stages, the newly effective

amendment to rule 702 and Dr. Conti’s more recent admissions weigh in favor of

excluding this factually and legally unsupportable theory, leaving Plaintiffs with no

evidence capable of demonstrating that they sustained any injury in this case.

      Third, all of Plaintiffs’ claims fail because they cannot prove that any

misrepresentations, omissions or warranties made by any Defendant actually caused

them any harm. Plaintiffs cannot carry their causation burden for even a single class

member, much less on a classwide basis.

      Fourth, Plaintiffs’ damages claims fail because Dr. Conti’s proposed

classwide model for calculating damages is untethered to the subclasses certified by



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the Court. Dr. Conti purports to calculate damages based on the “point of sale” where

each prescription was filled, not where each TPP “paid any amount of money” for

the VCDs, as the class definitions require. There is no dispute that TPPs pay for

VCDs through an intermediary like a pharmacy benefits manager (“PBM”), not at

the point of sale. As a result, Dr. Conti’s model necessarily includes recoveries for

TPPs that paid for VCDs outside of the subclass states and whose claims are

governed by other states’ laws. And whatever laws govern, Plaintiffs’ theory of

damages fails because they received the benefit of their bargains and did not have

out-of-pocket losses, and they cannot prove entitlement to punitive damages. Indeed,

some of the relevant states do not even allow such damages.

      For all of these reasons, the TPP Trial Defendants are entitled to summary

judgment.

                          FACTUAL BACKGROUND

      The facts relevant to this motion are set forth in detail in the TPP Trial

Defendants’ Omnibus Statement of Material Facts Not in Dispute (“SUMF”), which

is incorporated herein, and are summarized briefly below.

      Beginning in July 2018, the ZHP, Teva and Torrent Defendants voluntarily

recalled various finished-dose VCDs after trace amounts of NDMA were identified

in the VCDs. (SUMF ¶¶ 2-5, 77.) In its first announcement regarding the valsartan

recall, the FDA stated that “the presence of NDMA was unexpected and [was]



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thought to be related to changes in the way the active substance was manufactured.”

(Id. ¶ 61 (alteration in original).) A statement issued by FDA Commissioner Scott

Gottlieb clarified that “[b]efore [the agency] undertook [an] analysis [following the

discovery of NDMA in ZHP’s valsartan API], neither regulators nor industry fully

understood how NDMA could form during this process.” (Id. ¶ 62 (third alteration

in original).) Accordingly, at the time of the recalls, there were no validated,

required, or industry-standard methods or practices to test for the presence or

absence of NDMA or NDEA in VCDs. (Id. ¶ 69.) In fact, the FDA did not develop

or issue any methods for the detection of NDMA or NDEA in VCDs until October

11, 2018, months after the valsartan recalls. (Id. ¶ 74.)

       Dr. Gottlieb also explained that “NDMA’s properties make it difficult to

find,” and “[b]ecause it was not anticipated that NDMA would occur at these levels

in the manufacturing of the valsartan API, manufacturers would not have been

testing for it.” (Id. ¶ 63 (alteration in original).) Plaintiffs’ organic chemistry expert,

Dr. Stephen Hecht, admits that nobody would have “identified NDMA . . . unless

they were specifically looking for it, because the peaks would be too small.” (Id. ¶

71.)

       There is no evidence that any of the VCDs were recalled from the market

because of efficacy concerns; nor is there evidence that any of the VCDs failed to

provide effective blood pressure treatment to the patients who purchased and used



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them. (See, e.g., id. ¶ 79 (Plaintiffs’ expert, Dr. Conti, admitting that she could not

identify any scientific evidence that generic valsartan available on the market

between 2012 and 2018 was ineffective in treating the condition); id. ¶ 80 (Plaintiffs’

expert, Dr. Najafi, testifying that he cannot dispute that the medications “lower[ed]

blood pressure in adults and children”) (alteration in original).)

      Further, the evidence in the record establishes that any risk posed by the

presence of a trace impurity in the medication was extremely low. Indeed, the FDA

stated in its initial news release about the recall that patients “should continue taking

their medicine until they have a replacement product.” (Id. ¶ 81.) The FDA took this

position based on a finding that “[t]he risk associated with abruptly discontinuing

the use of these important medicines far outweighs the low risk that our scientists

estimate to be associated with continuing the medicine.” (Id. ¶ 82 (alteration in

original).) Specifically, the FDA estimated that, “if 8,000 people took the highest

valsartan dose (320 mg) from NDMA-affected medicines daily for four years (the

amount of time we believed the affected products had been on the U.S. market),

there may be one additional case of cancer over the lifetimes of these 8,000 people

beyond the average cancer rate among Americans,” and that “[m]ost patients who

were exposed to the impurity through the use of valsartan received less exposure

than this worst-case scenario.” (Id. ¶ 78 (emphasis added).) With respect to NDEA—

which was detected in some VCDs later in 2018—the FDA estimated an even lower



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risk: one possible additional case of cancer over the lifetimes of 18,000 people. (See

id.)

       Despite the undisputed efficacy of the VCDs in treating hypertension and the

FDA’s acknowledgement that the trace impurities posed a low risk (if any) of cancer

(id. ¶¶ 77-78), MSP alleges that the product was “worthless” due to the presence of

the trace impurities. (ECF 1708 (Third Am. Consol. Econ. Loss Cl. Action Compl.)

¶ 4.) Accordingly, MSP contends that it is entitled to recover all of the money that

its two TPP assignors (Emblem and SummaCare) allegedly spent on their insureds’

prescriptions for the recalled VCDs. (SUMF ¶ 2.)

       Plaintiffs also allege that Defendants breached warranties, engaged in fraud

and violated consumer protection statutes by selling the VCDs at issue. (Id. at n.2.)

But there is no evidence that the TPP Trial Defendants made any warranties or

representations on labels, websites, or anywhere else regarding the presence or

absence of NDMA or NDEA in their respective valsartan API or VCDs. (Id. ¶ 83.)

Nor is there any evidence that Emblem, SummaCare, or any TPP class member

received or relied upon any representations from any TPP Trial Defendant. (Id. ¶

84.) To the contrary, SummaCare’s representative testified that SummaCare “does

not have any direct relationship with manufacturers,” and “we do not have any

warranties in place with manufacturers directly,” and Emblem’s representative

acknowledged that she was unaware of any communications with, or review of, any



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representations, website, or literature regarding VCDs from any Defendant. (Id. ¶¶

84-85.)

                                   ARGUMENT

      The Court “shall grant summary judgment if the movant shows that there is

no genuine dispute as to any material fact and the movant is entitled to judgment as

a matter of law.” Fed. R. Civ. P. 56(a). Once a defendant has shown that the plaintiff

has “failed to establish one or more essential elements of its case,” the plaintiff

“‘must point to concrete evidence in the record’; mere allegations, conclusions,

conjecture, and speculation will not defeat summary judgment.” Affinity Healthcare

Grp. Voorhees, LLC v. Twp. of Voorhees, 624 F. Supp. 3d 494, 509-10 (D.N.J. 2022)

(citation omitted). Because this Court sits in diversity, it is required to faithfully

apply “the current law of the appropriate jurisdiction, and leave it undisturbed.” City

of Philadelphia v. Lead Indus. Ass’n, 994 F.2d 112, 123 (3d Cir. 1993).

      According to this Court’s prior ruling, Plaintiffs’ claims are governed by “the

law[s] of [their] home state[s]”—i.e., where each TPP is located. (ECF 818 at 10.)

Yet, each of the TPP subclass definitions is limited to specific states in which TPP

subclass members “paid any amount of money” for VCDs, which may or may not

be their home states. (ECF 2532-6.)3 This disconnect between the state whose law


3
       For example, TPP breach of implied warranty subclass d includes all TPPs
that “paid any amount of money in Alabama, New York, Ohio, Oregon, Tennessee,
Utah, or Vermont” for an at-issue VCD. (ECF 2532-6 at 4-5.)


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governs (i.e., the TPP’s home state) and the states encompassed by the subclass

definitions (i.e., the state where each TPP paid for valsartan) makes it impossible to

discern what law governs each unnamed subclass member’s claims. With respect to

named plaintiff MSP, for example, its claims are governed by the laws of New York

and Ohio because the two TPPs that assigned their claims to MSP are at home in

those states. But it is not clear where the underlying claims were paid because

Plaintiffs have made no attempt to identify where each TPP (including even MSP’s

assignors) paid for at-issue VCDs. Moreover, the identities and home states of other

subclass members are unknown, making it impossible to determine what laws

govern their claims. The mismatch between the defined subclasses and the Court’s

prior choice-of-law ruling makes it impossible and impractical for the TPP Trial to

proceed. For present purposes, however, this motion assumes without conceding

(and contrary to the law of the case) that the claims at issue are governed by the 43

jurisdictions identified across the four subclasses. Plaintiffs’ claims fail under those

laws for multiple reasons.

    I.        PLAINTIFFS CANNOT SATISFY SEVERAL ELEMENTS OF
              THEIR CAUSES OF ACTION.

         A.    Plaintiffs’ Breach Of Warranty Claims Fail For Multiple
               Reasons.

               1.    Plaintiffs’ Breach Of Warranty Claims Fail For Lack Of
                     Notice And Are At Least Partially Stale.

         Defendants are entitled to summary judgment on all of Plaintiffs’ claims for


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breach of express or implied warranty for two reasons.

      First, it is undisputed that MSP, its assignors, and the TPP class members did

not give notice to any Defendant of any purported breach of warranty prior to

commencing suit—a fundamental element of every state warranty law in question,

as this Court has recognized. (See ECF 2261 at 44; ECF 2261-1 at F-9, F-26 to F-

27, F-32 to F-50; ECF 2261-2 at G-45, G-48 to G-53.)4 Emblem expressly testified

that it was not aware that it or any other TPP provided pre-suit notice. (SUMF ¶

112.) Nor is there any other evidence of pre-suit notice in the record; indeed, this

element cannot be practically proven in a class action. See Cohen v. Implant

Innovations, Inc., 259 F.R.D. 617, 624-25 (S.D. Fla. 2008).

      In its motion-to-dismiss ruling, the Court held that Plaintiffs had adequately

pled notice by relying on pre-suit notice letters, even though those letters were sent

on behalf of consumer plaintiffs, not MSP, its assignors, or any other TPPs. (See



4
       See also, e.g., Hobbs v. Gen. Motors Corp., 134 F. Supp. 2d 1277, 1285 (M.D.
Ala. 2001) (holding that Alabama law requires pre-suit notice and the filing of a
complaint does not satisfy the notice requirement or raise a sufficient question of
fact for the jury); Williams v. Mozark Fire Extinguisher Co., 888 S.W.2d 303, 305-
06 (Ark. 1994) (holding that notice is a “condition precedent” to recovery and “the
notice must be more than a complaint”); Fire Supply & Serv., Inc. v. Chico Hot
Springs, 639 P.2d 1160, 1164 (Mont. 1982) (“To recover damages for a breach of
warranty, the buyer must plead and prove that he gave the seller notice of the breach
within a reasonable time after it was discovered or be barred from any remedy.”); In
re Ford Motor Co. E-350 Van Prods. Liab. Litig., MDL No. 1687, 2010 U.S. Dist.
LEXIS 68241, at *162 (D.N.J. July 9, 2010) (noting that under Texas law, the filing
of a complaint does not give sufficient notice, as notice must be given pre-suit).


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ECF 775 at 11-12; ECF 577-2 at 2, 15, 17, 20, 23, 26, 29.) Because the notice

requirement is plaintiff-specific, however, the fact that a handful of consumers may

have notified certain Defendants cannot suffice to withstand summary judgment

against the TPPs. See Drobnak v. Andersen Corp., 561 F.3d 778, 784 (8th Cir. 2009)

(fact that other named plaintiffs provided notice was insufficient to satisfy notice

requirement as to the two plaintiffs who did not); Fowler v. White, 85 So. 3d 287,

291-92 (Miss. 2012) (trial court properly held that the affidavit submitted by plaintiff

did not satisfy pre-suit notice requirement “because it did not specify that [counsel]

had mailed presuit notice in Fowler’s case as opposed to counsel’s other cases

against the defendants”); Colpitts v. Blue Diamond Growers, 527 F. Supp. 3d 562,

590 (S.D.N.Y. 2021) (“Plaintiff’s failure to satisfy the pre-suit notice requirement is

fatal to his breach of express warranty claim.”).

      The Court also appeared to reason at the pleading stage that any “formal pre-

suit pleading requirements” may be obviated by the issuance of voluntary recalls by

manufacturers of the VCDs, who necessarily “recognized that lawsuits for injury . . .

would likely ensue.” (ECF 775 at 12.) But it is well-established that “[r]ecall notices

do not satisfy the notice requirement,” In re Ford Motor Co. Speed Control

Deactivation Switch Prods. Liab. Litig., MDL No. 1718, 2007 WL 2421480, at *6

(E.D. Mich. Aug. 24, 2007), because the purpose of notice “is to allow the seller an

opportunity to resolve the dispute regarding an alleged breach before the buyer



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initiates a lawsuit,” Am. Fed’n of State Cnty. & Mun. Emps. v. Ortho-McNeil-

Janssen Pharms., Inc., No. 08-cv-5904, 2010 WL 891150, at *6-7 (E.D. Pa. Mar.

11, 2010) (dismissing implied warranty claim for lack of pre-suit notice where

plaintiffs argued constructive notice due to recall). 5

      Second, substantial portions of Plaintiffs’ claims are barred because they are

untimely. The statutes of limitations in the implied warranty subclass d states are all

four years. (See ECF 2261-2 at G-45, G-48 to G-53.) The relevant periods for the

states in express warranty subclass b are either six years (Mississippi, South

Carolina, and Wisconsin), five years (Florida) or four years (all other states). (See

ECF 2261-1 at F-9, F-26 to F-27, F-32 to F-50.) Importantly, with the exception of

Florida’s express warranty law, none of the other relevant state warranty laws

recognizes a discovery rule; rather, breach of warranty claims accrue at tender of

delivery. (See id.) Although Plaintiffs are seeking to recover for VCDs manufactured

between 2012 and 2019, a significant portion of that period is outside the relevant



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       At class certification, the Court relied on Chemtrol Adhesives, Inc. v.
American Manufacturers Mutual Insurance Co., 537 N.E.2d 624 (Ohio 1989), for
the proposition that Ohio’s pre-suit notice requirement was “iffy.” (ECF 2261-2 at
G-49.) However, “[s]ince Chemtrol, Ohio courts and federal courts applying Ohio
law have continued to hold that a plaintiff must notify a defendant of the alleged
breach prior to the complaint.” Lincoln Elec. Co. v. Technitrol, Inc., 718 F. Supp. 2d
876, 883 (N.D. Ohio 2010) (collecting cases). In any event, Chemtrol’s holding that
the reasonableness and timeliness of notice are ordinarily fact questions has no
bearing on Plaintiffs’ claims because they have failed to present any evidence of
notice.


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statutes of limitations. For example, warranty claims arising out of the purchase of

VCDs in 2012, 2013 and some purchases in 2014 would be time-barred under most

of the state warranty laws in question because they necessarily accrued more than

four years prior to commencement of MSP’s TPP lawsuit in 2018. And because

those states do not recognize any discovery rule for warranty-based claims, it is of

no moment whether the TPPs were aware of the presence of NDMA or NDEA when

they paid for the VCDs. Accordingly, the Court should grant Defendants summary

judgment on the breach of warranty claims that arose out of purchases of the VCDs

outside the applicable statutes of limitations.

             2.     Plaintiffs’ Implied Warranty Claims Also Fail For Lack Of
                    Privity And Unmerchantability.

      Defendants are separately entitled to summary judgment on Plaintiffs’ implied

warranty claims because they cannot establish privity or unmerchantability.

      First, the class members cannot prove that they are in privity of contract with

Defendants, as required under Alabama, New York, Ohio, Oregon, Tennessee, Utah

and Vermont law. (See ECF 2261 at 44; ECF 2261-2 at G-45, G-48 to G-53.)6


6
       See also, e.g., Blackmon v. Powell, 132 So. 3d 1, 6 (Ala. 2013) (“The linchpin
of a breach-of-the-implied-warranty-of-merchantability claim is privity[.]”);
Jackson v. Eddy’s LI RV Ctr., Inc., 845 F. Supp. 2d 523, 530 (E.D.N.Y. 2012)
(implied warranty claims can only be brought “by those in privity with the named
defendant”); Curl v. Volkswagen of Am., Inc., 871 N.E.2d 1141, 1147 (Ohio 2007)
(similar); Davis v. Homasote Co., 574 P.2d 1116, 1117 (Or. 1978) (en banc)
(“[Oregon] has adhered to the rule that privity of contract is essential before a
purchaser can recover economic loss from a manufacturer for breach of implied

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Plaintiffs had no direct contractual relationship with the TPP Trial Defendants and

generally do not even contract directly with pharmacies to pay for prescriptions.

Rather, TPPs contract with one or more intermediaries such as PBMs. (SUMF ¶

107.)

        The Court declined to dismiss the implied warranty claims under, inter alia,

Alabama, Ohio, and Vermont law, on the ground that TPP Plaintiffs adequately pled

that they were third-party beneficiaries of express warranties to the ultimate

consumer. (See ECF 775 at 21.) But, to the extent states have recognized a third-

party beneficiary exception to the privity requirement in the implied warranty

context, they have, at most, permitted a “plaintiff-consumer to recover from a

defendant-manufacturer as the intended end user of the product.” Traxler v. PPG

Indus., Inc., 158 F. Supp. 3d 607, 626 (N.D. Ohio 2016) (emphases added). That

principle cannot salvage Plaintiffs’ implied warranty claims because there is no

dispute that consumers (not TPPs) were the end users of VCDs.

        The Court’s prior ruling that New York does not require privity when the

consumed products are food or drugs also does not apply here in light of subsequent


warranty.”); Memphis-Shelby Cnty. Airport Auth. v. Ill. Valley Paving Co., No. 01-
3041 B, 2006 WL 3041492, at *2-3 (W.D. Tenn. Oct. 26,2006) (similar);
Davencourt at Pilgrims Landing Homeowners Ass’n v. Davencourt at Pilgrims
Landing, LC, 221 P.3d 234, 252 (Utah 2009) (“Privity of contract is required to bring
a claim for breach of the implied warranty.”); Mainline Tractor & Equip. Co. v.
Nutrite Corp., 937 F. Supp. 1095, 1108 (D. Vt. 1996) (“the Vermont Supreme Court
would not abandon the privity requirement” for implied warranty actions).


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precedent. (See ECF 2261 at 43.) As Judge Arleo more recently explained in

dismissing similar implied warranty claims brought by MSP, the food/drug

exception was abrogated by New York’s adoption of the UCC. See In re Metformin

Mktg. & Sales Prac. Litig., No. 20-cv-2324, 2022 WL 970281, at *12 (D.N.J. Mar.

30, 2022); see also Weisblum v. Prophase Labs, Inc., 88 F. Supp. 3d 283, 296

(S.D.N.Y. 2015) (dismissing claims brought on behalf of a putative New York

subclass for breach of implied warranty; older cases “holding that privity is not

required with regard to implied warranty claims ‘concerning sealed food products or

medicines’” “preceded the enactment of the UCC, which displaced [them]”)

(citations omitted).

      Second, Plaintiffs’ implied warranty claims also cannot proceed because

Plaintiffs cannot prove that the VCDs were unmerchantable. State-law differences

on the merchantability requirement “reflect divergent judicial philosophies on the

scope and content of the breach of implied warranty standard, which may

significantly [a]ffect the wording of jury instructions, the standard for a directed

verdict and ultimately, the outcome of the case.” Walsh v. Ford Motor Co., 130

F.R.D. 260, 271-73 (D.D.C. 1990). Defendants are nevertheless entitled to summary

judgment under any standard because there is no evidence that the VCDs were unfit

for their intended purpose of managing high blood pressure. See Se. Laborers Health

& Welfare Fund v. Bayer Corp., 444 F. App’x 401, 411-12 (11th Cir. 20111)



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(affirming dismissal of TPP’s claim for breach of implied warranty under New

Jersey law where TPP “has failed to identify any case law to support its theory that

the potential of a drug to cause harmful side effects, in the abstract, renders a drug

per se unmerchantable, even as to plaintiffs that did not suffer the side effects”). To

the contrary, the record shows that the presence of NDMA or NDEA impurities did

not diminish the efficacy of the TPP Trial Defendants’ VCDs, and that the VCDs

provided full therapeutic benefits. (See SUMF ¶¶ 79-82.)

      At the motion-to-dismiss stage, the Court, relying on Debernardis v. IQ

Formulations, LLC, 942 F.3d 1076 (11th Cir. 2019), reasoned that “contaminated

drugs, even if medically efficacious for their purpose,” can support a viable claim

for breach of implied warranty. (ECF 775 at 20.) Debernardis, however, is

inapposite for multiple reasons. First, Debernardis involved Article III standing, not

whether the drug at issue was merchantable. Second, the Eleventh Circuit expressly

“cautioned” courts that its holding was “limited to the specific facts alleged in th[at]

case”—namely, that the FDA had warned the manufacturers before they sold the

purportedly adulterated supplements that they were illegal to sell. Debernardis, 942

F.3d at 1082, 1088. Here, by contrast, the VCDs were legal to sell, and the FDA

never instructed the TPP Trial Defendants to stop selling them before requesting a

voluntary recall. See In re Zantac (Rantidine) Prods. Liab. Litig., MDL No. 2924,

2023 U.S. Dist. LEXIS 129339, at *312-13 (S.D. Fla. July 25, 2023) (distinguishing



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Debernardis). Moreover, the FDA confirmed the health benefits of VCDs after the

recall by recommending that consumers continue to use their medicine until they

could obtain replacements. (SUMF ¶ 81.) In short, the only record evidence is

undisputed that the VCDs did perform as intended, defeating any claim that they

were not merchantable.

             3.    Plaintiffs Have No Evidence That Any Express Warranty
                   Existed, Was Breached Or Was Relied On.

      Defendants are separately entitled to summary judgment on Plaintiffs’ express

warranty claims because Plaintiffs cannot prove that: (1) Defendants made any

express warranty; (2) Defendants breached any express warranty; or (3) the class

members relied on such a purported warranty.

      At the motion-to-dismiss stage, the Court held that Plaintiffs had sufficiently

pled the existence of an express warranty based on the naming of the VCDs as

valsartan and purported “marketing” of the VCDs as the “chemical equivalent” of

branded valsartan listed in the Orange Book. (ECF 775 at 13-14.) But at this stage,

the undisputed record disproves Plaintiffs’ allegations. Summacare’s representative

testified that it had no “warranties in place” with the TPP Trial Defendants, and

Emblem’s representative was not aware of any express warranties. (SUMF ¶¶ 84-

85.) Moreover, the Court previously excluded Plaintiffs’ only expert evidence of an

express warranty (i.e., Dr. Kaliopi Panagos’s opinion that a generic drug listing and

rating in the Orange Book supposedly constitutes a manufacturer’s “warranty”), as


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exceeding her expertise. (ECF 2261 at 94.)

      Nor could Plaintiffs prove that Defendants breached any express warranty,

even if one existed. The presence of trace levels of NDMA or NDEA in the VCDs

did not violate any purported warranty that these VCDs were “the same” or were

generic versions of their reference listed drugs (“RLDs”) (SUMF ¶ 89) because the

levels of all impurities in the VCDs at issue were within the specification limits

approved by the FDA, and the VCDs remained pharmaceutically equivalent and

bioequivalent to the RLDs. (Id. ¶¶ 86-94.)

      Finally, Plaintiffs’ express warranty claims also fail for lack of reliance. As

reflected in the annotated state-law charts adopted by the Court at the class

certification stage, reliance is an essential element of the laws of 14 out of the 20

states in the express warranty subclass at issue in this trial. (ECF 2261-1 at F-9, F-

26 to F-27, F-32 to F-50.)7 And as just discussed, Plaintiffs’ corporate

representatives were not even aware of the existence of any purported warranties.

(See, e.g., SUMF ¶¶ 84-85.) It follows perforce that neither MSP nor its assignors

could have possibly relied on an alleged warranty of which they were unaware.



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       See also, e.g., Madden v. Mercedes-Benz USA, Inc., 481 S.W.3d 455, 463
(Ark. Ct. App. 2016); Thomas v. Amway Corp., 488 A.2d 716, 720 (R.I. 1985);
Thursby v. Reynolds Metals Co., 466 So. 2d 245, 250 (Fla. Dist. Ct. App. 1984). The
fact that more than half of the relevant states require reliance while others do not
underscores the fundamental manageability and fairness problems that would plague
any class trial.


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Although Dr. Panagos previously sought to fabricate warranties and reliance out of

Orange Book listings, this Court properly excluded Dr. Panagos’ warranty and

reliance opinions as “outside the purview of her expertise.” (ECF 2261 at 94.)

Indeed, no court has ever held that Orange Book listings constitute a warranty in this

context. And for good reason. It is undisputed that P&T Committees—which

evaluate medications for inclusion on formularies—do not consider individual

manufacturers’ generic medications in their decision-making; nor do they rely on

the Orange Book. (See SUMF ¶¶ 114, 119-20.) Instead, they factor in various other

non-manufacturer-provided information, such as literature, relevant patient

utilization, economic data and relevant patient experiences. (Id. ¶ 122.)

      For these reasons, too, the Court should grant summary judgment to

Defendants on Plaintiffs’ express warranty claims.

      B.     The Class Members’ Fraud-Based Claims Fail For Multiple
             Reasons.

      Defendants are also entitled to summary judgment on Plaintiffs’ common-law

fraud and consumer-fraud claims for several independent reasons.

             1.    MSP Cannot Establish Any False Or Deceptive Statement
                   Or Omission.

      As a threshold matter, MSP cannot establish that Defendants’ alleged conduct

was fraudulent or deceptive, and the undisputed record proves it was not. Although

there are material “variations among state consumer protection laws” and common-



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law fraud regimes with regard to the type of conduct that is actionable, In re EpiPen

(Epinephrine Injection, USP) Mktg., Sales Pracs. & Antitrust Litig., No. 17-md-

2785-DDC-TJJ, 2020 WL 1180550, at *57 (D. Kan. Feb. 27, 2020), these varying

standards require, at a minimum, evidence of a false or deceptive statement or

omission, see In re Temporomandibular Joint (TMJ) Implants Prods. Liab. Litig.,

113 F.3d 1484, 1498 (8th Cir. 1997) (“Without evidence of a false representation,

the misrepresentation claim cannot succeed . . . .”); E. R. Squibb & Sons, Inc. v.

Stickney, 274 So. 2d 898, 907 (Fla. Dist. Ct. App. 1973) (requiring evidence “which

can reasonably support a finding” that defendant “willfully ignored, concealed, or

suppressed” information to support fraudulent omission claim); Parker v. United

Indus. Corp., No. 17 Civ. 5353 (GBD), 2020 WL 5817012, at *3 (S.D.N.Y. Sept.

29, 2020) (granting summary judgment on consumer fraud claim where plaintiff did

not adduce evidence that “the representations on the [product] label [we]re false

statements”).

      As this Court previously recognized, regardless of whether Plaintiffs’ claims

are couched as misrepresentations or omissions, the crux of Plaintiffs’ theory of

fraud is an alleged falsehood “that the VCDs were therapeutically equivalent to the

reference listed drug, complied with [current good manufacturing practices

(“cGMPs”)], were unadulterated, and properly branded.” (ECF 818 at 14; see also,

e.g., id. (omission-based theory is the “inverse of the first”).) But this Court has



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already excluded the opinion of Plaintiffs’ expert Dr. Najafi that valsartan API is not

bioequivalent to branded valsartan. (See ECF 2261 at 91.)8 And even if such an

opinion were admissible, Dr. Najafi admitted in deposition testimony that the

presence of impurities does not implicate pharmaceutical equivalence or

bioequivalence. (See SUMF ¶ 92.) Nor does the presence of an impurity not listed

in the Abbreviated New Drug Application (“ANDA”) nullify the ANDA approval.

See United States v. Vepuri, 74 F.4th 141, 150 (3d Cir. 2023) (an FDA-approved

drug still has “the same composition and labeling . . . for which an approval of an

ANDA is effective” despite the presence of impurities) (footnote omitted). Because

there is no evidence that the presence of nitrosamines affected the therapeutic

equivalence of the VCDs, Plaintiffs’ theory that Defendants engaged in fraudulent

conduct fails.

             2.     Plaintiffs Cannot Satisfy The Reliance Requirement Of
                    Their Fraud-Based Claims.

      Plaintiffs also cannot prove the reliance elements of their common-law fraud

claims, as required for every state in fraud subclass c (ECF 2261 at 45; ECF 2261-3




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       While Dr. Najafi seeks to testify that ZHP violated cGMPs, his ancillary
exposure to regulatory issues while working as a chemist does not qualify him to
opine on FDA matters, as elaborated in Defendants’ pending Daubert motion. See
Rheinfrank v. Abbott Lab’ys, Inc., 680 F. App’x 369, 376, 381 (6th Cir. 2017)
(affirming ruling precluding expert with no FDA experience from opining on
compliance with FDA requirements).


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at H-3, H-13, H-18 to H-19, H-22, H-29, H-31, H-33, H-40 to H-54),9 and for eight

of the states in consumer fraud subclass a (ECF 2261-4 at I-6 to I-33 (collecting

cases reflecting that Arizona, California, Maryland, North Carolina, Oregon,

Pennsylvania, Vermont and West Virginia require reliance)).10

      The record here lacks any evidence that MSP’s assignors, SummaCare and

Emblem, or any other TPP subclass member, relied on any purported

misrepresentations or omissions. See In re Testosterone Replacement Therapy

Prods. Liab. Litig., MDL No. 2545, 2019 U.S. Dist. LEXIS 24063, at *427-28 (N.D.

Ill. Feb. 14, 2019) (granting summary judgment on federal RICO and Ohio common

law misrepresentation claims asserted by a TPP because “[e]ven if a reasonable jury



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       Defendants note that the states included in subclass c differ with respect to
whether reliance must be justified. Compare Butler v. Yusem, 44 So. 3d 102, 105
(Fla. 2010) (“Justifiable reliance is not a necessary element” of a fraudulent
misrepresentation claim), with Pasternack v. Lab’y Corp. of Am. Holdings, 27
N.Y.3d 817, 829 (2016) (“[T]his [c]ourt has stated on a number of occasions that a
fraud claim requires the plaintiff to have relied upon a misrepresentation by a
defendant to his or her detriment.”). Regardless of this distinction in state law,
[p]laintiffs have failed to proffer sufficient proof of any reliance, justified or not,
from an objective or subjective standpoint.
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       See also, e.g., Durell v. Sharp Healthcare, 108 Cal. Rptr. 3d 682, 687-88 (Ct.
App. 2010) (“[A]ctual reliance is an element of the claim.”); Goss v. Bank of Am.,
N.A., 917 F. Supp. 2d 445, 450 (D. Md. 2013) (“To state a claim under the [Maryland
Consumer Protection Act], ‘the consumer must have suffered an identifiable loss,
measured by the amount the consumer spent or lost as a result of his or her reliance
on the sellers’ misrepresentation.’”) (citation omitted); Kuehn v. Stanley, 91 P.3d
346, 351 (Ariz. Ct. App. 2004) (“[R]eliance is a required element under Arizona’s
consumer fraud statute . . . .”).


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could find that defendants made false or misleading statements to MMO about the

safety or efficacy of their TRT drugs, it could not find that MMO relied on them to

make any formulary or utilization management decision regarding the drugs”).

SummaCare could not identify a single instance of having been exposed to any

alleged representation by any Defendant, much less to one that led to it bringing a

safety or efficacy concern to the attention of its PBM, which made the ultimate

decision to “include or exclude [a drug] from [its] formulary.” (See SUMF ¶ 123

(alterations in original).) Similarly, the Emblem representative did not know whether

anyone at Emblem ever viewed Defendants’ websites or VCD-related literature or

ever communicated with Defendants about the medications, and she did not notice

any change to any Emblem formulary even after the valsartan recall. (See id. ¶ 124.)

And Plaintiffs have no conceivable reliance evidence as to the other class members.

                3.   Certain Of The Class Members’ Consumer-Protection
                     Claims Are Procedurally Defective.

      Plaintiffs’ consumer-protection claims fail under certain states’ laws for other

reasons, too.

      First, the consumer-protection claims governed by the laws of the District of

Columbia, Hawaii, Missouri, Montana and Ohio cannot proceed because “[o]nly a

‘consumer’ may bring a private action under” those statutes. See, e.g., Davis v.

Vancil, 356 P.3d 1044 (table), 2015 WL 4067172, at *5 (Haw. Ct. App. 2015)

(citation omitted) (private action can only be brought by “a natural person who,


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primarily for personal, family, or household purposes, purchases” goods or

services); Adam A. Weschler & Son, Inc. v. Klank, 561 A.2d 1003, 1005 (D.C. 1989)

(similar). There is no dispute that MSP, its assignees, and the TPP class members

are not “consumers” under these statutes. Rather, Plaintiffs are bringing claims “on

behalf of commercial purchasers” and, thus, did not purchase the VCDs for

“personal, family, or household purposes.” See MSP Recovery Claims, Series, LLC

v. Sanofi Aventis U.S. LLC, No. 3:18-cv-2211-BRM-LHG, 2019 WL 1418129, at

*18 (D.N.J. Mar. 29, 2019) (citation omitted) (dismissing Missouri Merchandising

Practices Act claim because MSP assignees were commercial purchasers). (See

SUMF ¶ 107.) Defendants are therefore entitled to summary judgment as to the

consumer-fraud claims governed by D.C., Hawaii, Missouri, Montana and Ohio law.

      Second, the consumer-protection claims governed by Louisiana and Montana

law separately fail because those states expressly prohibit plaintiffs from attempting

to assert consumer-fraud claims in putative class actions. See La. Rev. Stat. §

51:1409(A) (“Any person who suffers any ascertainable loss of money or movable

property . . . as a result of the use or employment by another person of an unfair or

deceptive method, act, or practice . . . may bring an action individually but not in a

representative capacity to recover actual damages.”) (emphasis added); Mont. Code

§ 30-14-133(1) (similar). These “class action bars incorporated in the Montana” and

Louisiana “consumer protection laws are not preempted by Rule 23” because they



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“evince a desire by the state legislature to limit not only the form of the action but

also the remedies available.” In re Lipitor Antitrust Litig., 336 F. Supp. 3d 395, 416-

17 (D.N.J. 2018) (citation omitted).

    II.   PLAINTIFFS CANNOT ESTABLISH A COGNIZABLE INJURY.

      All of Plaintiffs’ claims separately fail because the TPPs received exactly

what they paid for—effective blood pressure medication for their members—and

therefore were not harmed. See, e.g., In re Schering-Plough Corp. Intron/Temodar

Consumer Class Action, No. 2:06-cv-5774 (SRC), 2009 WL 2043604, at *9 (D.N.J.

July 10, 2009) (granting motion to dismiss and rejecting theory of TPP injury where

defendant “provide[d] their beneficiaries with the most effective treatment

available”).

      Plaintiffs and their experts acknowledge that the medications at issue worked

effectively to lower their enrollees’ blood pressure and to reduce hypertension-

related risks like artery disease, stroke and heart failure. (See SUMF ¶ 79-80.)

Moreover, the FDA itself concluded that “the risk to individual patients” from the

at-issue VCDs remains “very small” and that someone who took the maximum

possible valsartan dose every day the potentially contaminated drugs were on the

market would have, at most, just a 1-in-8,000 risk of developing cancer. (See Id. ¶

78.) It also concluded that the health benefits from taking valsartan outweighed these

minuscule cancer risks, which is why it recommended that patients continue taking



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the allegedly contaminated medication “until [their] doctor or pharmacist provides a

safe replacement or a different treatment option.” (Id. ¶ 82.)

      Plaintiffs nonetheless continue to assert that the VCDs they paid for were

“worthless” based on Dr. Conti’s theory that any medication that fails to comply

with FDA regulations must categorically have no economic value even if it treated

patients’ hypertension. But that position, which Dr. Conti has never backed up with

any economic literature, “is not . . . defensible” as a matter of law given that the

VCDs proved “beneficial to many patients” and any cancer risk was negligible. In

re Rezulin Prods. Liab. Litig., 210 F.R.D. 61, 68-69 (S.D.N.Y. 2009); see, e.g., Ctr.

City Periodontists Periodontists, P.C. v. Dentsply Int’l, Inc., 321 F.R.D. 193, 204

(E.D. Pa. 2017) (plaintiffs’ expert “incorrectly presumes that the [the device] is

‘worthless’ and therefore fails to consider, and could not account for, the device’s

value,” as it benefitted many dentists and their patients, regardless of the alleged

inherent defect). That is particularly true because, absent the VCDs, the TPPs would

have had to pay for alternative forms of blood pressure medication, some of them

much more expensive, or pay costs stemming from the complications of untreated

hypertension, which would be more extensive still. (See SUMF ¶ 130.) See

Sergeants Benevolent Ass’n Health & Welfare Fund v. Sanofi-Aventis U.S. LLP, 20

F. Supp. 3d 305, 334 (E.D.N.Y. 2014) (granting summary judgment against TPP

plaintiff for lack of “proof of actual injury” based on payments for antibiotics that



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performed as intended where there was “no evidence to support” the “highly dubious

proposition” that TPPs otherwise “would not have had to pay” for antibiotics).

      At the pleading stage, the Court characterized Plaintiffs’ “worthless[ness]”

theory as “somewhat opaque,” but nonetheless permitted it to proceed on the ground

that its viability was a “merits” question. (ECF 728 at 3, 5, 8, 11-12, 14-15; see also

ECF 775 at 19-20.) The Court later reasoned that “[a]t the class certification stage,

the methodology of [Dr. Conti] need not be perfect or even legally correct”—

essentially, that Defendants’ challenge implicated the weight (rather than the

admissibility) of Dr. Conti’s fundamental opinion. (ECF 2261 at 89.)

      At this stage of the proceedings, however, the Court must determine whether

it is legally viable to treat effective medication as categorically worthless based on

an expert’s ipse dixit. It is not. See Am. Fed’n of State Cnty. & Mun. Emps., Dist.

Council 47 Health & Welfare Fund v. Ortho-McNeil-Janssen Pharms., Inc., 857 F.

Supp. 2d 510, 515 (E.D. Pa. 2012) (rejecting “worthless” theory of injury;

“[b]ecause there [was] no evidence that any [recalled] patches for which [TPPs] paid

were not used as intended, [p]laintiffs ha[d] not shown that they suffered a loss or

injury”); see also Myers-Armstrong v. Actavis Totowa, LLC, No. C 08-04741 WHA,

2009 WL 1082026, at *4 (N.D. Cal. Apr. 22, 2009) (“That the CDP was adulterated

due to a lack of compliance with GMP requirements is not enough, without more, to

state a claim.”).



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      Recent changes to the law governing Rule 702 and Dr. Conti’s own testimony

reinforce this point. An amendment to Rule 702—which took effect earlier this

month—now makes clear that the proponent of expert evidence must

“demonstrate[]” by a preponderance of the evidence that the expert’s opinion is the

product of a reliable methodology. See Fed. R. Evid. 702. “The amendment also

stresses the importance that an expert’s opinion must ‘stay within the bounds of what

can be concluded from a reliable application of the expert’s basis and methodology’

under Rule 702(d).” Treminio v. Crowley Mar. Corp., No. 3:22-cv-00174-CRK,

2023 U.S. Dist. LEXIS 206554, at *9-10 (M.D. Fla. Nov. 17, 2023) (citing Am. Fed.

R. Evid. 702 advisory committee’s note to 2023 amendment). In short, the

amendment to Rule 702 clarifies that it is an “abdication of [the Court’s] gatekeeping

role” to sidestep close review of an expert’s opinions based on tenuous assertions

that these are “questions of weight and not admissibility.” Sardis v. Overhead Door

Corp., 10 F.4th 268, 284 (4th Cir. 2021) (quoting advisory committee’s note to draft

amendment to Rule 702); see also Report of the Advisory Committee on Evidence

Rules, at 6 (May 15, 2022) (“The Committee concluded that in a fair number of

cases, the courts . . . essentially treat[] these questions as ones of weight rather than

admissibility, which is contrary to the Supreme Court’s holdings that under Rule

104(a), admissibility requirements are to be determined by court under the

preponderance standard.”).



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      Dr. Conti has also provided more recent testimony that underscores the

factually unsubstantiated nature of her sweeping theory. Dr. Conti recently admitted

that any product that “has a market price . . . must have some . . . economic value,”

undercutting the very premise of her “worthlessness” theory. (SUMF ¶ 128.) Dr.

Conti further acknowledged that the “clinical benefit of a product affect[s] its

economic value” and “by definition” is “reflected in the demand curve” of the

product. (Id. ¶ 129 (alteration in original).) Accordingly, Dr. Conti’s own recent

testimony belies her claim that the VCDs were worthless. For all of these reasons,

Plaintiffs’ theory of worthlessness is incapable as a matter of law of satisfying their

burden as to injury, further requiring summary judgment for Defendants.

    III.   PLAINTIFFS CANNOT PROVE THAT DEFENDANTS’
           ALLEGED CONDUCT PROXIMATELY CAUSED ANY INJURY.

      Defendants are separately entitled to summary judgment because Plaintiffs

cannot prove that any misrepresentations, omissions or warranties made by any

Defendant proximately caused their purported losses.

      Causation standards vary across the many different states and causes of action

that have been bundled together for this trial. See, e.g., Grandalski v. Quest

Diagnostics Inc., 767 F.3d 175, 183 (3d Cir. 2014) (noting state’s “varying”

standards of “causation”). Nonetheless, to the extent common principles can be

gleaned, the various states and causes of action generally require but-for causation

and proximate causation. See, e.g., Becker v. Cont’l Motors, Inc., 709 F. App’x 263,


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267 (5th Cir. 2017) (per curiam); Stearns v. Select Comfort Retail Corp., No. 08-

2746 JF, 2009 WL 1635931, at *4 (N.D. Cal. June 5, 2009); Merrill Lynch & Co. v.

Allegheny Energy, Inc., No. 02 Civ. 7689(HB), 2005 WL 832050, at *4 (S.D.N.Y.

Apr. 12, 2005); In re Schering-Plough Corp. Intron/Temodar Consumer Class

Action Litig., 2009 WL 2043604, at *33. Proximate causation generally imposes a

remoteness-based limitation on recovery. See Holmes v. Sec. Inv. Prot. Corp., 503

U.S. 258, 268-69 (1992) (proximate cause requires “some direct relation between

the injury asserted and the injurious conduct alleged”).

      As courts analyzing issues of remoteness have recognized in cases brought by

TPPs, it would be “simply impossible, or close to it, to determine” what (if any)

portion of prescriptions were supposedly caused by a drug manufacturer’s allegedly

deceptive conduct, because “[e]ach decision by each doctor and each patient” is

different, and thus “[t]he effect that any alleged misrepresentations had on each

decision is unique.” In re Vioxx Prods. Liab. Litig., MDL No. 1657, 2010 U.S. Dist.

LEXIS 142767, at *23-24 (E.D. La. Mar. 31, 2010) (granting partial summary

judgment to pharmaceutical manufacturer in case alleging that purportedly deceptive

marketing increased prescriptions); see also, e.g., UFCW Loc. 1776 v. Eli Lilly &

Co., 620 F.3d 121, 134-35 (2d Cir. 2010) (affirming summary judgment because

“[p]laintiffs’ theory of liability rests on the independent actions of third and even

fourth parties as physicians, PBMs, and PBM Pharmacy and Therapeutics



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Committees all play a role in the chain between Lilly and TPPs”) (citation omitted);

Sergeants Benevolent Ass’n, 20 F. Supp. 3d at 315 (similar); In re Zyprexa Prods.

Liab. Litig., 671 F. Supp. 2d 397, 433-34 (E.D.N.Y. 2009) (granting summary

judgment where Medicaid agency’s “individual claim [was] structured on the

foundation of many thousands of conceptually separate” prescriptions “due to the

need to prove [causation] on an individualized basis” for each prescription).

      Sergeants Benevolent Association is instructive. In that case, multiple TPPs

brought a nationwide class action against drug companies alleging that they

“misrepresent[ed] the safety and efficacy” of an antibiotic and sought to recover for

prescriptions paid for by the TPPs. 20 F. Supp. 3d at 308. The defendants moved for

summary judgment, arguing that the plaintiffs’ theory that “every prescription for

[certain indications] caused the [plaintiffs] injury in an amount equal to the amounts

they paid” failed as a matter of law. Id. at 315 (citation omitted). They further

explained that any theory of causation would have to evaluate “what antibiotic would

have been prescribed in lieu” of the challenged drug on a prescription-by-

prescription basis. Id. The court agreed. The court first reasoned that the “length of

the causal chain” (which included the FDA, pharmacy benefit managers, doctors and

finally the TPP) likely rendered causation “too attenuated.” Id. at 327. It next found

that, even assuming the defendant’s alleged failure to disclose safety risks related to

the medication led to increased prescriptions (and, by extension, payments by the



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TPP), the TPPs’ theory of causation could not be proven “through generalized proof”

and was “interrupted by the independent actions of prescribing physicians.” Id.

(citation omitted).

      These concerns apply with even greater force here. To determine whether

Defendants caused Plaintiffs any injury would require a jury to examine each

individual prescription to determine whether and to what extent the at-issue VCDs

provided value to the patient, in light of his or her individual medical history,

including the nature and severity of hypertension and any individualized cancer

risks. The jury would next need to evaluate what medication (if any) a plaintiff would

have paid for if the at-issue VCDs were not available, and whether that medication

would have been cheaper or more expensive than the VCDs in light of the TPP’s

formulary and benefit structure. Evaluating the claims of even a single TPP (e.g.,

MSP’s assignors) would require thousands or tens of thousands of such inquires.

Undertaking that complicated exercise on behalf of the whole class would require

millions of individualized inquiries. Plaintiffs have failed to present any evidence

for the jury to undertake this task, even if it were possible to do so. Defendants are

thus separately entitled to summary judgment for lack of causation.

    IV.    PLAINTIFFS DO NOT HAVE EVIDENCE TO SUPPORT A
           COGNIZABLE DAMAGES THEORY.

      At a minimum, Defendants are entitled to summary judgment on damages for

three reasons. First, Dr. Conti’s proffered model for calculating damages is based on


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the place where each prescription was filled, not where each TPP paid any amount

of money for the VCDs as required by the subclass definitions certified by the Court.

This would necessarily result in improper recoveries for TPPs outside of the

subclasses certified by the Court. Second, Plaintiffs have failed to present evidence

setting forth a cognizable theory of damages under any state’s applicable measure

of damages. And third, Plaintiffs’ request for punitive damages has no factual or

legal merit.

      A.       Plaintiffs’ Damages Model Cannot Establish Damages On A
               Classwide Basis.

      The Court should grant Defendants summary judgment on the question of

damages first and foremost because Dr. Conti’s proposed damages model—the

linchpin of Plaintiffs’ request for monetary relief in this case—is not a viable method

for calculating classwide damages. Although the Court defined each of the TPP

subclasses by reference to specific states in which subclass members “paid any

amount of money” for at-issue VCDs, Dr. Conti’s damages calculation focuses

solely on the “point of sale” where prescriptions were filled. As the undisputed

record discloses, TPPs do not pay for the VCDs at these “points of sale.” Rather, an

intermediary like a PBM covers the transaction at the point of sale, and TPPs pay

PBMs in a separate transaction with no necessary geographic connection to the point

of sale. (SUMF ¶¶ 107, 109-11.)




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      Dr. Conti’s approach of calculating damages based on the “point of sale” and

not the TPPs’ “point of payment” has two fatal implications for Plaintiffs’ ability to

prove damages at trial. First, Dr. Conti’s damages model would award damages for

TPPs outside of the subclass definitions and may also fail to award damages for

TPPs within the subclass definitions, because her model does not identify the point

of payment necessary to determine a TPP’s inclusion or exclusion from a given

subclass. Consider, for example, a TPP that paid a PBM in Delaware for VCD

prescriptions filled in New York. That TPP would not be a member of any of the

TPP Trial subclasses because it “paid any amount of money” for VCDs in Delaware,

and Delaware is not listed in the class definition for any of the four subclasses set

for trial.11 Yet, Dr. Conti’s model would award damages for those VCD prescriptions

because they were filled in New York, which she erroneously treats as a TPP Class

state. Conversely, her model would not award damages for a TPP that paid a PBM

in New York for VCD prescriptions filled in Delaware, because the “point of sale”

is outside of the four TPP Trial subclasses.

      Dr. Conti does not even attempt to confront this irreconcilable conflict

between her damages model and the subclass definitions. Plaintiffs’ failure to offer

a viable model to prove damages for the TPP Trial claims and subclasses further

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      The states that are not included in any of the trial subclasses are Delaware,
Indiana, Kansas, Kentucky, Maine, Maryland, Michigan, New Mexico and West
Virginia. (See ECF 2343.)


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entitles Defendants to summary judgment. See In re Gen. Motors LLC Ignition

Switch Litig., 407 F. Supp. 3d 212, 239 (S.D.N.Y. 2019) (flawed damages model

required summary judgment).

      Second, Dr. Conti’s model makes it impossible to apply governing law under

the standard set by this Court—i.e., that each TPP’s claims are governed by “the law

of each plaintiff[’s] home state.” (ECF 818 at 10.) For example, a TPP that paid a

PBM for VCD prescriptions filled in Florida (where privity is not required) would

be in express warranty subclass group b, even if its “home state” and the law

governing its claim is Kentucky (where privity is required), meaning that privity

would be required as to that TPP despite its inclusion in express warranty subclass

group b. Yet, Dr. Conti has not even attempted to determine the TPPs’ home states,

making it impossible to ascertain for purposes of the damages calculation the law

governing each TPP’s claims.

      In short, because Dr. Conti’s model is mismatched both to the subclasses

certified for trial and to the Court’s choice-of-law ruling, it cannot support Plaintiffs’

bid to prove damages. For this reason alone, Plaintiffs have no way to prove damages

and Defendants are entitled to summary judgment.

      B.     Plaintiffs Cannot Prove Any Fraud- Or Warranty-Based
             Damages.

      Even assuming that Plaintiffs had a damages model that matched the Court’s

subclasses, the record would not enable Plaintiffs to establish damages under any


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recognized measure of damages. Nineteen of the 23 jurisdictions identified in the

Court’s subclasses follow the benefit-of-the-bargain standard in at least some cases

of fraud—many of them exclusively so (see ECF 2261-3 at H-3, H-13, H-18 to H-

19, H-22, H-29, H-31, H-33, H-40 to H-54)12—as does every state with respect to

its breach of warranty laws.13 Under the benefit-of-the-bargain standard, a plaintiff

is entitled to damages representing “the difference between the price paid and the

value of the property had the representations been true.” Finderne Mgmt. Co. v.

Barrett, 955 A.2d 940, 957 (N.J. Super. Ct. App. Div. 2008) (citation omitted). The

benefit-of-the-bargain measure of damages does not yield measurable damages in

pharmaceutical drug cases where, as here, plaintiffs do not allege any loss of efficacy

or physical injury, because the “value” of an effective medication does not vary

when additional risk information is disclosed. See Heindel v. Pfizer Inc., 381 F.



12
      See also, e.g., BDO Seidman, LLP v. Mindis Acquisition Corp., 578 S.E.2d
400, 401 (Ga. 2003) (Georgia law uses “out-of-pocket standard for negligent
misrepresentation and the benefit-of-the-bargain standard for fraudulent
misrepresentation”); Lightning Litho, Inc. v. Danka Indus., Inc., 776 N.E.2d 1238,
1243 (Ind. Ct. App. 2002) (similar); Finderne Mgmt. Co. v. Barrett, 955 A.2d 940,
957 (N.J. Super. Ct. App. Div. 2008) (“New Jersey recognizes benefit-of-the-bargain
damages in fraud cases.”).
13
      See, e.g., Duyck v. Nw. Chem. Corp., 764 P.2d 943, 946 (Or. Ct. App. 1988)
(“The measure of damages for breach of warranty is the difference at the time and
place of acceptance between the value of the goods accepted and the value they
would have had if they had been as warranted, unless special circumstances show
proximate damages of a different amount.”) (citation omitted); Knox v. Ludwick,
No. 00CA2569, 2001 WL 1287156 (Ohio Ct. App. Sept. 25, 2001) (same).


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Supp. 2d 364, 380 (D.N.J. 2004) (“[T]he decision to take a particular drug is a

medical one, not one based on a[] comparative analysis of risk versus price.”).

      MSP also cannot prove that any TPP actually suffered an out-of-pocket loss,

the measure of damages for common-law fraud in 12 of the 23 states at issue. (See

ECF 2261-3 at H-3, H-13, H-18 to H-19, H-22, H-29, H-31, H-33, H-40 to H-54.)

“Out-of-pocket damages represent the difference between the price paid and the

actual value received.” Finderne Mgmt. Co., 955 A.2d at 957. Thus, the proper

measure of damages in such states is not the difference in value received versus what

a TPP expected to receive—like benefit-of-the-bargain damages—but the amount

required to “restore the [TPPs] to the position [they] held prior to the” alleged fraud.

Murray v. Hadid, 385 S.E.2d 898, 904 (Va. 1989).

      Here, Plaintiffs could not have suffered any out-of-pocket loss because it is

indisputable that, “[i]n their role as insurers, TPPs experience neither health benefits

nor health risks.” (SUMF ¶ 127.) Instead, TPPs have a contractual obligation with a

beneficiary to fulfill a financial responsibility to pay for certain prescription

medications and healthcare. Accordingly, whether there is an alleged “impurity” in

a drug does not affect a TPP unless that impurity causes it to endure additional costs.

See Bryan v. Kissoon, 767 N.W.2d 491, 496 (Minn. Ct. App. 2009) (“In jurisdictions

like Minnesota that follow the ‘out-of-pocket’ rule, if the property is worth what a

party paid for it, then that party has suffered no damages.”).



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      Nor is there evidence that any TPP actually suffered an ascertainable loss or

actual damages “that is quantifiable or measurable,” as required by several states’

consumer protection laws. Dist. 1199P Health & Welfare Plan v. Janssen, L.P., 784

F. Supp. 2d 508, 530 (D.N.J. 2011) (citations omitted). As previously discussed, the

TPPs in this case would not only have had to pay for an alternative medication had

the VCDs not been on the market, but they would have paid more money for that

alternative medication. (See SUMF ¶ 130.)

      For all of these reasons, Plaintiffs could not prove any entitlement to damages,

even if they could prove the prima facie elements of their claims. This, too, entitles

Defendants to summary judgment.

      C.     Plaintiffs Are Not Entitled To Punitive Or Exemplary Damages.

      Finally, Defendants are entitled to summary judgment on Plaintiffs’ request

for punitive or exemplary damages.

      As an initial matter, it is not possible to determine which state’s punitive

damages law(s) apply to each class member’s claims for the reasons discussed

above: the subclass is defined based on where payments were made by TPPs,

whereas punitive damages should be governed by the law where the TPPs are

based—i.e., the state with the most significant relationship to each TPP’s claims. See

Gorji v. C.R. Bard, Inc., No. 4:21CV3134, 2022 U.S. Dist. LEXIS 34765, at *1 (D.

Neb. Feb. 28, 2022) (applying “most significant relationship” test and applying law



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of the plaintiff’s home state; “Although Defendants here are, respectively, Utah and

New Jersey corporations and have made business decisions in those states, this does

not outweigh the contacts to Nebraska or Nebraska policy regarding punitive

damages in this case.”); see also Seals v. Wright Med. Tech., Inc., No. 4:20-cv-

01656-SRC, 2022 U.S. Dist. LEXIS 202223, at *11 (E.D. Mo. Nov. 7, 2022)

(similar; “[W]hile Tennessee may have an interest in applying its punitive-damages

laws to Tennessee corporations, Missouri has an interest in applying its own

punitive-damages laws to ‘inflict punishment and to serve as an example and

deterrent to similar conduct’ occurring in Missouri.”) (citation omitted).14 But even

if the subclass states were the same as the states whose punitive damages laws apply,

the claims would still fail.

      First, two of the potentially relevant states—Nebraska and New Hampshire—

proscribe punitive damages, warranting summary judgment with respect to

Plaintiffs’ requests for punitive damages under those states’ laws. See, e.g., Dubas

v. Clark Equip. Co., 532 F. Supp. 3d 819, 830 (D. Neb. 2021) (punitive damages

prohibited under Nebraska’s state constitution.); Distinctive Printing & Packaging



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       “[A]s the decision of the United States Supreme Court [in BMW of North
America v. Gore] makes clear, the treatment of punitive damages varies from state
to state.” Sanders v. Johnson & Johnson, Inc., No. 03-2663 (GEB), 2006 U.S. Dist.
LEXIS 35881, at *17-18 (D.N.J. May 31, 2008) (quoting Mack v. Gen. Motors
Acceptance Corp., 169 F.R.D. 671, 678 (M.D. Ala. 1996)) (citing BMW of N. Am.,
Inc. v. Gore, 517 U.S. 559 (1996)).


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Co. v. Cox, 443 N.W.2d 566, 574 (Neb. 1989) (similar) (citations omitted); N.H.

Rev. Stat. Ann. § 507:16 (“No punitive damages shall be awarded in any action,

unless otherwise provided by statute.”).

      Second, even assuming Plaintiffs could prove that Defendants breached any

express or implied warranties, such a theory would not be a viable predicate for the

imposition of punitive damages. Most states do not permit the recovery of punitive

damages for breach of warranty theories. See, e.g., Parker v. Exterior Restorations,

Inc., No. 21-0425-WS-B, 2022 WL 2532171, at *4 (S.D. Ala. July 7, 2022)

(Alabama law “‘is clear’ that punitive damages are not recoverable for breach of

warranty”); Mahler v. KIA Motors Am., No. 6:17-cv-1770-MC, 2018 WL 1938430,

at *2 (D. Or. Apr. 24, 2018) (same); Bartlett Milling Co. v. Walnut Grove Auction

& Realty Co., 665 S.E.2d 478, 487 (N.C. Ct. App. 2008) (punitive damages only

available in tort under North Carolina law).

      Although four of the warranty subclass states’ laws apparently do permit

recovery of punitive damages, they strictly limit such damages to exceptional cases

involving egregious misconduct—i.e., “where the evidence demonstrates that there

is willful or malicious conduct.” Hughes v. Segal Enters., Inc., 627 F. Supp. 1231,

1238 (W.D. Ark. 1986) (punitive damages ordinarily not recoverable for breach of

warranty, but exception exists “where the evidence demonstrates that there is willful

or malicious conduct” related to the breach); Todd v. Kellum, No. 1:15-cv-00177-



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GHD-DAS, 2016 WL 4261919, at *3 (N.D. Miss. Aug. 10, 2016) (punitive damages

not available absent “some element of aggression or some coloring of insult, malice

or gross negligence, evincing ruthless disregard for the rights of others, so as to take

the case out of the ordinary rule”) (citations omitted); Riley v. Gen. Motors, LLC,

591 F. Supp. 3d 259, 277 (S.D. Ohio 2022) (punitive damages not permitted for

breach of warranty unless conduct is so egregious it gives rise to “independent tort”);

Mohr v. DaimlerChrysler Corp., No. W2006-01382-COA-R3-CV, 2008 WL

4613584, at *15 (Tenn. Ct. App. Oct. 14, 2008) (egregious conduct required). Here,

the record forecloses a finding of willful or malicious conduct on the part of any

Defendant. As detailed above, this entire lawsuit is predicated on the presence of

unknown and unanticipated impurities in VCDs that could not be detected by routine

testing. (SUMF ¶¶ 57-76.) Even if the sale of such medications ran afoul of the

relevant states’ warranty laws, it would fall far short of engaging in knowing,

intentional, malicious or egregious misconduct.

      Third, Plaintiffs’ fraud-based claims are also not a legitimate basis for

recovering punitive damages or exemplary damages under state consumer-

protection laws. Although the relevant state laws prescribe differing requirements

and burdens of proof to support these kinds of damages, they generally impose

exacting state-of-mind or culpability standards that Plaintiffs cannot establish. For

example, the consumer-protection laws of Louisiana, New Hampshire, New York,



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and North Dakota all require willfulness or knowing misconduct for the recovery of

treble damages. See Johnston v. Vincent, 359 So. 3d 896, 919 (La. 2023) (treble

damages can be sustained where the deceptive practice “was knowingly used after

being put on notice by the attorney general”); Lane v. Barletta, 233 A.3d 335, 341

(N.H. 2019) (to be entitled to enhanced damages under the Consumer Protection Act

requires a willful or knowing violation); Samms v. Abrams, 198 F. Supp. 3d 311,

317 (S.D.N.Y. 2016) (citing GBL 349(h) and stating that treble damages are

appropriate “if the court finds the defendant willfully or knowingly violated this

section”); Mahanna v. Westland Oil Co., 107 N.W.2d 353, 359 (N.D. 1960)

(similar).15 And to the extent the relevant state consumer-protection laws ever permit

the recovery of punitive damages, they generally require a showing of malice,

oppression, or outright fraud. See Holeman v. Neils, 803 F. Supp. 237, 242-43 (D.

Ariz. 1992) (“Punitive damages are allowed for violations of the Consumer Fraud

Act where the wrongdoer’s conduct is wanton or reckless, shows spite or ill will or

where the conduct demonstrates a reckless indifference to the interests of others.”);

15
       Many of the consumer-protection statutes only authorize treble damages of
“ascertainable” losses. See Kenai Chrysler Ctr., Inc. v. Denison, 167 P.3d 1240,
1259-60 (Ala. 2007) (citation omitted) (violation coupled with ascertainable loss
allows for recovery of treble damages); Richards v. Ameriprise Fin., Inc., 152 A.3d
1027, 1035 (Pa. Super. Ct. 2016) (plaintiff must demonstrate an ascertainable loss
as a result of the defendant’s prohibited action to recover any damages under the
UTPCPL). Because, as discussed supra, Plaintiffs cannot prove any such
“ascertainable” losses, that is further grounds for precluding any classwide recovery
of treble damages.


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Roper v. Big Heart Pet Brands, Inc., 510 F. Supp. 3d 903, 926 (E.D. Cal. 2020)

(punitive damages warranted “[w]here a plaintiff proves that the defendant has been

guilty of fraud or malice”); Gargano v. Heyman, 525 A.2d 1343, 1347 (Conn. 1987)

(stating that “the flavor of the basic requirement to justify an award of punitive

damages is described in terms of wanton and malicious injury, evil motive and

violence”); Heckadon v. CFS Enters., Inc., 400 S.W.3d 372, 382 (Mo. Ct. App.

2013) (in determining reasonableness of punitive damages, the court considers, inter

alia, whether “the harm was the result of intentional malice, trickery, or deceit, or

mere accident”) (citation omitted).

      Moreover, in a number of the states in question, “[a] bare case of fraud or

constructive fraud does not warrant the assessment of exemplary or punitive

damages.” K. Ronald Bailey & Assocs. Co. v. Soltesz, No. E-05-077, 2006 WL

1364019, at *3 (Ohio Ct. App. May 19, 2006); see also, e.g., Walker v. Sheldon, 10

N.Y.2d 401, 405 (1961) (in New York, punitive damages “have been refused in the

‘ordinary’ fraud and deceit case”); Davis v. N.C. State Highway Comm’n, 156 S.E.2d

685, 686-88 (N.C. 1967) (“[I]t is ‘the general rule that ordinarily exemplary,

punitive, or vindictive damages are not recoverable in an action for fraud.’”) (citation

omitted); Dixon v. Bohn, 890 So. 2d 613, 615 n.2 (La. Ct. App. 2004) (“Punitive

damages are not an element recoverable in an action for fraud.”) (citing La. C.C. art.

1958). In other words, mere intentionality does not suffice; rather, the conduct in



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question must also “evinc[e] a high degree of moral turpitude that demonstrates such

wanton dishonesty as to imply a criminal indifference to civil obligations.” Princes

Point, LLC v. AKRF Eng’g, P.C., 944 N.Y.S.2d 493, 494 (App. Div. 2012).

        The record evidence regarding Defendants’ alleged conduct does not give rise

to punitive damages under any of the applicable states’ laws because Defendants did

not even know of the potential for the formation of trace amounts of purported

impurities during the API manufacturing process prior to 2018, as discussed in the

defendant-specific summary judgment motions, incorporated herein by reference.

(See also SUMF ¶¶ 68-69.) As such, they could not have acted with the specific

intent to defraud the TPPs, much less done so maliciously and with moral turpitude.

For this reason as well, the class members encompassed by the common-law fraud

and consumer-fraud subclasses have no basis for recovering punitive damages in this

case.

                                  CONCLUSION

        For the foregoing reasons, the Court should grant Defendants summary

judgment on all of Plaintiffs’ claims.

Dated: December 22, 2023                 Respectfully submitted,

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                          CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on December 22, 2023, I electronically filed the

foregoing with the Clerk of the Court by using the CM/ECF system which will send

a notice of electronic filing to all CM/ECF participants in this matter.

                                               /s/ Jessica Davidson
                                               Jessica Davidson




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